               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 CR 27-3


UNITED STATES OF AMERICA,                       )
                                                )
Vs.                                             )            ORDER
                                                )
EZEQUIEL LEAL GARCIA,                           )
                                                )
                 Defendant.                     )
____________________________________            )


       THIS MATTER has come before the Court pursuant to a Motion for

Temporary Release (#30) filed by counsel for defendant. At the call of this matter on

for hearing it appeared that defendant was present with his counsel, Noell P. Tin and

the government was represented by Assistant United States Attorney Tom Kent. The

government advised it had no objections to the release of defendant to a suitable

custodian so the defendant could obtain substance abuse treatment. Based upon the

foregoing, the undersigned determined to enter an order allowing defendant’s motion.



                                       ORDER

       IT IS, THEREFORE, ORDERED that the Motion for Temporary Release

(#30) is hereby ALLOWED and the defendant will be released on terms and

conditions of pretrial release as set forth on the record herein.




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                                Signed: October 10, 2012




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